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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                                  Chapter 11

WILLIAMS INDUSTRIAL SERVICES                                            Case No. 23-10961-BLS
GROUP INC., et al.,1
                                                                        (Jointly Administered)
Debtors.
                                                                         Relates to D.I. 209

             RESPONSE BY SOUTHERN NUCLEAR OPERATING COMPANY TO
             DEBTOR’S NOTICE TO CONTRACT PARTIES TO POTENTIALLY
             ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          Southern Nuclear Operating Company, Inc. (“Southern Nuclear”), a party in interest in

the above-styled bankruptcy case, submits this response (the “Response”) to the Notice to

Contract Parties to Potentially Assumed Executory Contracts and Unexpired Leases [Doc. 203]

(the “Cure Notice”) filed by Williams Industrial Services Group Inc. (the “Debtor”). In support,

Southern Nuclear states the following:

          1.        On July 22, 2023 (the “Petition Date”), the Debtor filed its voluntary petition for

relief pursuant to Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”).

          2.        The Debtor and Southern Nuclear are parties to some thirty-seven (37) separate

contracts (collectively, the “Contracts”) for which the Debtor’s performance has not been

completely fulfilled. Though specific tasks vary by contract, the Contracts generally provide for

the Debtor to provide construction and related services to Southern Nuclear at various nuclear


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:
Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.




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power facilities operated by Southern Nuclear.

        3.     Many of the services provided by the Debtor to Southern Nuclear under the

Contracts are fulfilled by subcontracts (collectively, the “Sub-Contracts”) between the Debtor and

various sub-contractors (collectively, the “Sub-Contractors”).

        4.     The Debtor is obligated under the Contracts to pay all amounts owed the Sub-

Contractors under the Sub-Contracts.

        5.     For a number of reasons including the fact work is being performed at nuclear

power facilities, Southern Nuclear has the right under many of the Contracts to approve the

Debtor’s selection of the Sub-Contractors as well as key personnel providing services under the

Contracts.

        6.     The Contracts impose other duties on the Debtor customary in contracts of this

nature including, but not limited to, indemnification and warranty obligations.

        7.     Under the Contracts, the Debtor invoices Southern Nuclear for services provided.

However, previously invoiced amounts are subject to periodic adjustments.

        8.     The Cure Notice lists the Contracts as executory contracts the Debtor intends to

assume and assign through its bankruptcy sale process. The Debtor lists “$0.00” as the cure

amount for each of the Contracts.

        9.       Southern Nuclear has identified defective work under at least one of the

Contracts (Contract No. SNG57456-006) for which the Debtor is responsible for remedial

measures. Southern Nuclear has put the Debtor on notice of the defective work. However, the

defective work must be cured prior to the Debtor’s assumption of this contract. Additional

indemnity or warranty claims resulting from pre-assumption/assignment actions or inactions may

arise after assumption and assignment of the Contracts for which any assignee will be responsible.



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        10.     Southern Nuclear also has identified at least one contract for what is known as the

Hatch Unit 2 Feedwater Project under which the Debtor received an overpayment of

approximately $200,000 that is subject to adjustment or refund to Southern Nuclear. This

adjustment or refund must be effectuated prior to assumption/assignment of that Contract.

Additional adjustments in accordance with the terms of the Contracts may be required after their

assumption and assignment.

        11.     Some of the Sub-Contractors have notified Southern Nuclear of outstanding

amounts they are owed under the Sub-Contracts for work or other services they provided and for

which the Debtor has been paid in full by Southern Nuclear. Because the Debtor is obligated

under the Contracts to pay these amounts, all of the Debtor’s obligations to the Sub-Contractors

must be fulfilled and any existing amounts owed must be paid prior to assumption and assignment.

Further, after assumption and assignment, Southern Nuclear must retain the right now existing

under the Contracts to withhold payment on current Debtor invoices as authorized under the

Contracts to assure that these Sub-Contractors are paid in full by Debtor, and further, Southern

Nuclear also must retain the right now existing under the Contracts to approve all Sub-Contractors

as well as key personnel for ongoing as well as future work on behalf of Southern Nuclear.

        12.     Southern Nuclear objects to the assumption of the Contracts to the extent the

Debtor seeks to limit in any respect any obligation of the Debtor or rights of Southern Nuclear

under the Contracts that have not yet been discovered, invoiced, or otherwise matured or come

due.

        13.     Southern Nuclear reserves the right to amend or supplement this Response

including, but not limited to, the right to amend the stated cure amounts. Southern Nuclear further

reserves the right to join in the objection of other interested parties.



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        WHEREFORE, Southern Nuclear requests the Court to condition the Debtor’s assumption

and assignment of the Contracts upon (a) the Debtor curing construction defects Southern Nuclear

has already identified to the Debtor; (b) all existing payment adjustments due under the Contracts

being effectuated prior to assumption and assignment; (c) payment by the Debtor of all amounts

now owing to Sub-Contractors under the Sub-Contracts with Debtor for work performed on

behalf of Southern Nuclear; (d) recognition by the proposed assignee of the Contracts of its

obligations under the Contracts for warranty and indemnity claims, payment adjustments, and all

other obligations of Debtor and rights of Southern Nuclear under the Contracts including, but not

limited to Southern Nuclear’s right to withhold payment and its advance approval rights of Sub-

Contractors and key personnel prior to the performance of work on behalf of Southern Nuclear.

Further, the Debtor’s assumption and assignment of the Contracts should be conditioned upon

Southern Nuclear’s being provided adequate assurance of future performance to the extent the

assignee is not the currently-designated stalking horse bidder. Southern Nuclear requests the

Court grant such further and additional relief as the Court deems proper and just.

        Dated: September 1, 2023

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                                                         -and-




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